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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

                                                   )
 STATE OF UTAH, ET AL.,
                                                   )
                                                   )
                 Plaintiffs,                             MOTION TO              WITHDRAW          AS
                                                   )
                                                         ATTORNEY
                                                   )
                                                   )
                 v.
                                                   )
                                                   )
 VINCE MICONE, ET AL.,                                   No. 2:23-cv-00016
                                                   )
                                                   )
                                                   )
                 Defendants.
                                                   )

        Pursuant to Local Rule 83.12(a), Eric J. Hamilton, counsel for Plaintiff State of Nebraska,

respectfully moves this Court to withdraw as counsel of record in this matter. Mr. Hamilton will depart

the Office of the Nebraska Attorney General on January 24, 2025. The succeeding attorney for the

State of Nebraska is Zachary B. Pohlman, who is an attorney licensed in the State of Nebraska, is in

good standing, and has filed an application to be admitted pro hac vice in the Northern District of

Texas. Mr. Pohlman is an attorney in the Office of the Nebraska Attorney General, and his address is

the same as that in the signature block.


                                                               Respectfully submitted.

                                                               MICHAEL T. HILGERS
                                                               Attorney General of Nebraska

                                                               /s/ Eric J. Hamilton
                                                               Eric J. Hamilton
                                                               Solicitor General
                                                               OFFICE OF THE NEBRASKA
                                                               ATTORNEY GENERAL
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                                                               Lincoln, Nebraska 68509
                                                               (402) 471-2682
                                                               eric.hamilton@nebraska.gov

                                                               Counsel for State of Nebraska
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                                      CERTIFICATE OF SERVICE

        On January 24, 2025, this notice was served via CM/ECF on all registered counsel and

transmitted to the Clerk of the Court. Counsel further certifies that the document has been scanned

for viruses and is free of viruses.


                                                     /s/ Eric J. Hamilton       _
                                                     ERIC J. HAMILTON




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